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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                      :
MONICA CLARK, et al.
                                      :

      v.                              : Civil Action No. DKC 2005-0103

                             :
CREATIVE HAIRDRESSERS, INC.,
et al.                       :

                            MEMORANDUM OPINION

      Presently    pending     and        ready    for     resolution          in    this

discrimination     case    are:    (1)         Plaintiffs’       motion    for      class

certification     (paper    31);     (2)       Defendants’       motion    to       strike

Exhibit H to Plaintiffs’ class certification motion (paper 37);

(3) Defendants’ motion for summary judgment (paper 30); (4)

Plaintiffs’ motion for leave to file an amended complaint to

join additional plaintiffs (paper 17); (5) Plaintiffs’ motion

for   a    preliminary     injunction          (paper     26);    (6)     Plaintiffs’

objections to Magistrate Judge Connelly’s Discovery Order (paper

56); and (7) Plaintiffs’ motion to exceed ten depositions and

forty hours of depositions (paper 51).                    The issues are fully

briefed and the court now rules pursuant to Local Rule 105.6, no

hearing being deemed necessary.                 For the reasons that follow,

the court denies Plaintiffs’ motion for class certification,

denies     Defendants’     motion         to     strike     Exhibit       H,        grants
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Defendants’ motion for summary judgment, and denies as moot

Plaintiffs’ remaining motions and objections.




I.   Background

     Hair Cuttery salons provide a wide variety of value-priced

services, with no appointment necessary.                (Paper 38, at 2).

Defendant Creative Hairdressers, Inc., owns and operates more

than 800 Hair Cuttery salons in several states, and employs Hair

Cuttery salon employees.1         Creative Hairdressers is a member of

Defendant      Ratner    Companies,    L.C.,    which    trades   as      “Hair

Cuttery.” (Paper 10, at 1; Paper 11, at 2).              Ratner Companies

provides management services to Creative Hairdressers, Inc.                 For

example, Ratner Companies employs Hair Cuttery district and

regional leaders, and provides support functions such as human

resources, accounting, training, and policy formulation. (Paper

31, ex. F, at 2).       Defendants’ Rule 30(b)(6) deponent testified

that the formalized policies and operations of Hair Cuttery

salons are unified.        (Paper 31, ex. C, at 41).       Although lower-



     1Defendants inconsistently report the exact number of Hair
Cuttery  salons.   See  (paper   11)(admitting  that   Creative
Hairdressers owns approximately 800 hair salons); (paper 38)
(stating that Hair Cuttery has nearly 1,000 locations); (paper
31, ex. D., at 13) (“Defendant Creative Hairdressers, Inc.,
operates approximately 900 salons in several states.”).

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level Hair Cuttery employees, including assistant and general

managers, are Creative Hairdresser employees, they report to

Ratner-employed district and regional leaders.                 (Paper 31, ex.

C, at 178).        With regard to employee discipline, low-level

disciplinary       actions      are     generally    handled    by     Creative

Hairdresser employees at the local level but some lower level

discipline and all “higher” level disciplinary actions such as

terminations are handled “by or in conjunction with” Ratner

management.      (Paper 31, ex. F, at 2).

     Plaintiffs assert claims against Defendants for violation

of 42 U.S.C. § 1981, alleging that Defendants have a pattern and

practice of discriminating against African-Americans, and that,

because     of   their   race,   they     were   denied   service,     received

delayed service, were charged a higher fee, or were otherwise

treated     unfairly     when    they    visited    multiple    Hair    Cuttery

locations in Maryland and Virginia.2              Allegations and testimony

specific to the two named plaintiffs and each of the three

unnamed plaintiffs are discussed below.

A.   Plaintiff Monica Clark

     Plaintiff Monica Clark alleges in her complaint, and has

testified to, the following facts.               Ms. Clark contends she was


     2 The complaint also contains descriptions of alleged
discrimination by three “unnamed” plaintiffs, one of whom
alleges discriminatory treatment at a Delaware Hair Cuttery.

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discriminated against on three occasions at three different Hair

Cuttery locations in Maryland and Virginia.                  First, in January

2004, Ms. Clark visited the Clinton, Maryland, Hair Cuttery and

was overcharged for a standard Hair Cuttery service.                  Ms. Clark

states that when she complained about the overcharge, she was

told that she was charged more because her hair was past her

shoulders, a fact that she disputes.               Ms. Clark paid the extra

fee and later called the store to complain of the overcharge;

Ms. Clark states that the salon’s manager defended the charge

and told her there was nothing she could do.

    In July 2004, Ms. Clark visited the Waldorf, Maryland, Hair

Cuttery location, and states that upon entry she was ignored by

the Hair Cuttery staff.         Ms. Clark contends she was forced to

wait for service while a Caucasian customer who entered the

salon after she did was immediately helped.                When a stylist gave

Ms. Clark a wash and trim service, she did not, as Ms. Clark

testifies     is    “customary,”   wash      her   hair    multiple   times   or

briefly blow dry her hair so that it was not significantly wet

when she left the salon.       Following this visit, Ms. Clark called

the Hair Cuttery complaint hotline to report the incident.                    Ms.

Clark was offered coupons for a free service and advised to

visit a different Hair Cuttery location or, if she chose to

return   to   the    Waldorf   store,       that   the    “Hair   Cuttery   would


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recommend a person who would be willing to wait on her so she

would not encounter the same problem upon her return.”

       In October 2004, Ms. Clark visited the Potomac Yard Hair

Cuttery in Alexandria, Virginia.            Upon entry, Ms. Clark asked

for a wash, cut, and dry.        Ms. Clark contends that the stylist,

an Asian man who had served her on a previous visit without

incident, quoted her a price for the services requested that was

more than the listed price and included a fee for straightening

her hair, which Ms. Clark had not requested.               When Ms. Clark

questioned the charge, Ms. Clark states the stylist asked her to

point out any stylist who would perform the service for a lesser

charge, refused to serve her, and then waited on a Caucasian

man.      Ms. Clark complained to the manager, who then asked

another stylist to serve Ms. Clark.          When that stylist waited on

her, Ms. Clark maintains that the stylist was “noticeably angry”

and pulled her hair “hard.”           Ms. Clark states that she again

called the Hair Cuttery hotline to complain, and although she

was sent two additional coupons for free services and informed

that    someone   would   talk   to   the   manager   of   the   salon,   the

employee stated there was “not much they could do.”

B.     Plaintiff Leslie Mercer

       Plaintiff Leslie Mercer alleges in her complaint, and has

testified to, the following facts.           In August 2003, Ms. Mercer


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entered the Reston, Virginia, Hair Cuttery with her daughter.

Ms. Mercer entered her name into the salon’s computer system and

chose “other” when prompted to indicate what type of service she

sought.        When asked by a stylist, later identified as “Vinh

Bach,” what service Ms. Mercer needed, Ms. Mercer indicated that

she wanted a “roller set.”3            Mr. Bach acknowledged the request

and Ms. Mercer proceeded to the waiting area.                Ms. Mercer states

that       approximately      ten   minutes    later,    a    second    stylist

approached Mr. Bach and the two discussed whether any stylist

could serve her, though she concedes that the conversation

between the two stylists was not in English and she did not

understand what was said.           Ms. Mercer states that shortly after

this conversation, Mr. Bach shouted at her that there was no one

who could perform the service she requested because her hair

type was “too difficult.”            When asked what the comment meant,

Mr. Bach did not respond.             After waiting an additional short

time, Ms. Mercer left the salon without receiving service.                    Ms.

Mercer       called   the   Hair    Cuttery   hotline   later    that   day    to

complain about what happened.            The next morning a Hair Cuttery

district leader called Ms. Mercer to investigate the incident,


       3
      Ms. Mercer contends that a roller set is a basic styling
procedure.    Defendants’ 30(b)(6) deponent confirms       this,
although the witness states that sets using something other than
“big rollers” may be considered speciality procedures. (Paper
31, ex. C, at 230-231).

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but Ms. Mercer refused to provide any information, except that

she had decided to pursue legal action.

C.   Unnamed Plaintiffs4

      The complaint also details alleged discrimination of three

unnamed female African-Americans who visited Hair Cuttery salons

in   Maryland,       Virginia,     and   Delaware.        Unnamed      Plaintiff        1

alleges      seven    instances     of   discriminatory        treatment         at   the

Pickett      Shopping     Center    Hair       Cuttery   location      in   Fairfax,

Virginia,       between   March     2003       and   October   2004.        In    every

instance, Unnamed Plaintiff 1 claims she was required to wait

while non-African-American customers who came into the salon

after her were helped first.             On at least one occasion she left

the salon without receiving service.

      Unnamed Plaintiff 2 alleges that during January 2003 she

visited the Bowie, Maryland, Hair Cuttery and after waiting for

two hours while stylists served at least one Caucasian customer

who entered the salon after her, she left without service.

Unnamed Plaintiff 2 also alleges that in May 2003 she visited a

Hair Cuttery in Dover, Delaware, to have her hair styled but was

told that no one could do her hair and to come back when a



      4
      These plaintiffs are later identified in Plaintiff Leslie
Mercer’s responses to Defendants’ interrogatories, (paper 31,
ex. I, at 2), as Roberta Washington, Judy Benson, and Ruthas
Kwalume.

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stylist   who   did   African-American    hair   was   working.        After

complaining, she eventually received service.

     Unnamed Plaintiff 3 alleges that she and a non-African-

American friend entered the Hair Cuttery salon on Lee Highway in

Arlington, Virginia, and requested a wash and a trim.                    She

alleges that although her friend was helped immediately, she was

refused service by three stylists, all of whom said they would

not perform a wash and trim service on her; the stylist who had

helped her friend eventually assisted her.         Unnamed Plaintiff 3

claims that she complained to the store’s manager, who refused

to take any corrective action against the stylists who refused

to serve her. Unnamed Plaintiff 3 also alleges that while she

was in the salon, her African-American grandson entered and was

ignored, although Hair Cuttery employees paid attention and gave

a lollipop to a Caucasian child.           When she called the Hair

Cuttery hotline to complain about her experience, she claims she

was offered a free service coupon and advised to go to a

different Hair Cuttery salon.

D.   Requested Relief

     Plaintiffs seek relief in the form of: (a) compensatory

damages for each Plaintiff in an amount to be determined at

trial but no less than $200,000 per Plaintiff; (b) punitive

damages in an amount to be determined at trial but no less than


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$25,000,000; (c) injunctive and declaratory relief that would

prohibit Defendants from refusing to serve or providing delayed

service    to   African-American      women,      “passing    over”      African-

American women in favor of other non-African-American customers,

charging     African-American        women     more   for      services,      and

mistreating or otherwise discriminating against African-American

women; (d) attorneys’ fees, expenses, and interest as allowed by

law; and (e) any other relief this court deems just and proper.



II.   Class Certification

          Plaintiffs filed a motion seeking class certification

pursuant to Fed.R.Civ.P. 23, requesting that they be certified

as representatives of a class comprising all “African-American

women who sought or attempted to seek services at Hair Cuttery

salons and were either (1) denied service, (2) received delayed

service, (3) were charged more for services than non-African-

American customers, and/or 4) were otherwise mistreated by the

Defendants,      because      they    were     African-American           women.”

Plaintiffs      do   not   specify   any   time    frame     for   the    alleged

discriminatory treatment.

      In order for Plaintiffs to bring a class action, Plaintiffs

must meet all four requirements of Fed.R.Civ.P. 23(a), and at

least one of the requirements of Fed.R.Civ.P. 23(b).                       Amchem


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Prods., Inc. v. Windsor, 521 U.S. 591, 613-14 (1997).                    The

burden of establishing class status is on Plaintiffs, Bullock v.

Bd. of Educ. of Montgomery County, 210 F.R.D. 556, 558 (D.Md.

2002), and “[t]he court has a duty to undertake a ‘rigorous

analysis’”    to   ensure     that        the   requirements   of      class

certification have been met.         Hewlett v. Premier Salons Int’l,

Inc., 185 F.R.D. 211, 215 (D.Md. 1997) (citing Gen. Tel. Co. of

Southwest v. Falcon, 457 U.S. 147, 161 (1982)).                A district

court may not evaluate the merits of a plaintiff’s case, but

“sometimes it may be necessary for the court to probe behind the

pleadings before coming to rest on the certification question.”

Falcon, 457 U.S. at 160.      As the Fourth Circuit has noted:

          If it were appropriate for a court simply to
          accept the allegations of a complaint at
          face value in making class action findings,
          every complaint asserting the requirements
          of Rule 23(a) or (b) would automatically
          lead to a certification order, frustrating
          the district court’s responsibilities for
          taking a “close look” at relevant matters,
          Amchem, 521 U.S. at 615, 117 S.Ct. 2231, for
          conducting a “rigorous analysis” of such
          matters, Falcon, 457 U.S. at 161, 102 S.Ct.
          2364, and for making “findings” that the
          requirements of Rule 23 have been satisfied
          . . . . “It is appropriate to conduct
          controlled discovery into the ‘merits,’
          limited to those aspects relevant to making
          the certification decision on an informed
          basis.”




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Gariety v. Grant Thornton, LLP, 368 F.3d 356, 365 (4th Cir. 2004)

(quoting     Fed.R.Civ.P.    23   advisory    committee’s         note   to   2003

amendments) (emphasis in original).

      The four requirements of Rule 23(a) are commonly referred

to   as   numerosity,     commonality,     typicality,      and    adequacy      of

representation.        Plaintiffs fail to satisfy at least two of

these requirements - commonality and typicality.                    Because the

court finds that Plaintiffs fail to establish the commonality

and typicality requirements of Fed.R.Civ.P. 23(a), it need not

reach     whether   Plaintiffs     have    met    23(a)’s    numerosity         and

adequacy     of   representation    elements,      or   whether      Plaintiffs

satisfy the requirements of Rule 23(b).              See Talley v. ARINC,

Inc., 222 F.R.D. 260, 266, n.3 (D.Md. 2004).

A.   Commonality

      Rule     23(a)(2)     specifies      that    in   order       for       class

certification, there must be “questions of law or fact common to

the class.”5      As this court has noted, “[m]inor differences in


      5In their opposition memorandum, Defendants assert that
Lienhart v. Dryvit Systems, Inc., 255 F.3d 138, 146 (4th Cir.
2001) provides the applicable and more stringent commonality
standard. Id. (“The common questions must be dispositive and
over-shadow other issues.”).     The standard articulated in
Lienhart,   however,   was   particular   to   23(b)(3)   class
certifications. Because Plaintiffs assert that certification is
proper under both 23(b)(2) and 23(b)(3), the less onerous
commonality definition articulated in Hewlett will be applied.
                                                 (continued...)

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the underlying facts of individual class members’ cases do not

defeat a showing of commonality where there are common questions

of law.”   Hewlett, 185

F.R.D. at 216.     In discrimination cases, however, conclusory

allegations, standing alone, are insufficient:

           The key to the commonality requirement in
           discrimination cases seems to be whether
           there    is     evidence     of    centralized
           decisionmaking. . . .      Factual disparities
           within the class will not bar certification
           when there are supported allegations of a
           pervasive policy of discrimination, unless
           the factual situation of the representative
           plaintiff     is      particularly     unique.
           Conversely,    an    absence    of   supported
           allegations by the plaintiff of centralized
           . . . decisionmaking or a showing of
           decentralization by the defendant may result
           in   a   denial    or    reversal   of   class
           certification.

Id. (citation and quotations omitted).           See also Talley, 222

F.R.D. at 266-67 (“Plaintiffs must submit reliable evidence of

a defined pattern or practice of discrimination that, if proven

true, would establish liability on the part of all [d]efendants

with respect to all class members.”).

    Plaintiffs fail to establish the commonality factor because

there are significant factual differences among the putative

class members and Plaintiffs provide no evidence of a unified



    5(...continued)


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discriminatory policy or centralized discriminatory decision-

making to support their allegations.          First, unlike in Hewlett,

185 F.R.D. at 217, where all putative class members received the

same treatment - denial of any service - Plaintiffs’ factual

assertions widely vary, as the broad definition of the class

that Plaintiffs seek to certify shows.             The proposed class

includes African-American women who were allegedly treated in

many different ways, including being denied service completely,

being forced to wait and/or being passed over for Caucasian

customers,    being   charged   more    for   services   than   Caucasian

customers, and being “otherwise mistreated” because they were

African-American.6     There are, in fact, significant differences

between the facts presented by the two named plaintiffs.               Ms.

Clark does not state that she was denied services; she contends

that she was overcharged and received delayed and unsatisfactory

service.     In contrast, Ms. Mercer states that she was denied

service completely. 7     Moreover, the named Plaintiffs went to

    6  This “mistreatment” could encompass innumerable types of
conduct.    For example, Ms. Clark states that although she
received service, her hair was pulled “hard”; Unnamed Plaintiff
3 contends that she was discriminated against, in part, because
her grandson failed to receive a lollipop.
    7 This difference is not minor. Because Ms. Clark was never
denied service she will need to make different legal arguments
than those putative class members who were.          See e.g.,
Baltimore-Clark v. Kinko’s, Inc., 270 F.Supp.2d 695, 699-700
                                                 (continued...)

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different      salons,     at   different     times,       and   interacted   with

different stylists and managers.8

       Second, other than Plaintiffs’ conclusory allegations, there

is   no     evidence     that   Defendants      had    a    unified      policy   of

discrimination or centralized discriminatory decision-making.

Instead, the evidence shows that Defendants had an express

policy of nondiscrimination that is posted in every salon, and

that Defendants provide extensive anti-discrimination training

to all of their employees both during orientation and annually.

(Paper 38, ex, E, deposition of Donnelle Cate, at 414-416).                       See

also       Talley,   222   F.R.D.   at    267   (finding         no   evidence    of

centralized      discriminatory      decision-making             where   defendants

       7
     (...continued)
(D.Md. 2003); Gilyard v. Northlake Foods, Inc., 367 F.Supp.2d
1008, 1013-15 (E.D. Va. 2005).
       8The facts surrounding the alleged discrimination of the
unnamed plaintiffs are likewise individualized and include
refusal   of   service,   delay   in  receiving   service,   and
discriminatory treatment in the form of a failure to receive a
lollipop.    Each of the unnamed plaintiffs visited different
salons at different times and interacted with different Hair
Cuttery employees. In considering the claims of the additional
parties that Plaintiffs seek to add (paper 17), the lack of
commonality becomes even more apparent. Compare (paper 31, ex.
J, Declaration of Angel Anderson) (stating she was overcharged
and dissatisfied with the service performed on daughter), with
(paper 31, ex. J, declaration of Cynthia Dumas) (stating she was
discriminated against because a stylist wore gloves when washing
her hair and left her under the dryer for nearly two hours, she
was told she would have to pay in advance for services, and she
was denied service because no stylist was able to perform the
services she required).

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“introduced undisputed evidence to establish that the company

adheres to a rigid set of policies and procedures . . . for

compliance with discrimination laws . . .”).              The training

materials emphasize that a stylist’s goal should be to become

proficient in all types of services so that the stylist would

“avoid   offending   someone   or    unintentionally     discriminating

against a client.”    (Paper 31, ex. G).9      Plaintiffs acknowledge

that Defendants’ policy gives the illusion that it is non-

discriminatory (i.e., it is facially neutral), but argue that it

in fact discriminates because there is no absolute requirement

that all stylists be proficient in all speciality services, and

these services are primarily used by African-American women. 10

The result is that African-American women are adversely affected

- they are denied or must wait for service because not all



    9  Defendants’ actions following reports of discrimination
also support their nondiscrimination policy. For example, the
day after Ms. Mercer telephoned the complaint hotline, a
District Manager called her to discuss the situation. (Paper
31, ex. K, at 147); (Paper 38, ex. C., at 95-96). Mr. Bach, the
stylist who refused service to Ms. Mercer, was later terminated
after refusing to provide service to another customer unless she
paid an overcharged price.     (Paper 31, ex. D., at 4). In
addition, a district manager contacted Ms. Clark within a week
after she sent an e-mail complaining of discrimination. (Paper
38, ex. B, at 164).
    10 Plaintiffs make additional arguments in support of an
alleged “policy” of discrimination in their opposition to
Defendants’ summary judgment motion. As will be discussed later
in this opinion, these arguments are likewise unsuccessful.

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stylists are capable of helping them.               As this court has noted,

however, a disparate impact theory of discrimination is not

actionable under § 1981, and Plaintiffs fail to proffer any

evidence    to   support     a   pattern    or     practice    of    intentional

discrimination.         Buchanan v. Consol. Stores Corp., 217 F.R.D.

178, 190 (D.Md. 2003) (“The critical element of a § 1981 claim

is the showing of intentional discrimination, not merely that

the defendant adopted a policy or practice that had a disparate

impact upon minorities.”) (emphasis in original).                        Moreover,

some of the treatment the putative class members complain of is

completely unrelated to a stylist’s ability to provide service

(e.g.,   allegations       of    overcharging      and   rudeness),        further

torturing     Plaintiffs’        attempt    at     articulating      a    unified

discriminatory policy and highlighting the lack of commonality

among the putative class members.                Because Plaintiffs fail to

demonstrate      the    existence    of    any    pattern     or    practice    of

intentional discrimination that would tie the putative class

members together, “what remains is an aggregation of individual

discrimination claims that require - and deserve - individual

adjudication.”         Talley, 222 F.R.D. at 268.11

    11 The court need not address Defendants’ further argument
that the commonality factor cannot be met because different
affirmative defenses can be asserted against the individual
putative class members depending on their allegations (e.g.,
                                                (continued...)

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B.    Typicality

      Class certification requires that “the claims and defenses

of the representative parties are typical of the claims and

defenses of the class.”          Fed.R.Civ.P. 23(a)(3).     The typicality

requirement, oft criticized as “redundant” to the commonality

requirement,      focuses   on    “whether   a   sufficient   relationship

exists between the injury to the named plaintiff and the conduct

affecting the class, so that the court may properly attribute a

collective nature to the challenged conduct.”                 Hewlett, 185

F.R.D. at 217.       In Hewlett, this court held that a plaintiff’s

claim may factually differ and still be “typical” of class

member claims, if “it arises from the same event or practice or

course of conduct that gives rise to the claims of other class

members, and if his or her claims are based on the same legal

theory.”    Id.    (quotations omitted).

      Plaintiffs fail to establish the typicality requirement.

The    allegations    of    discrimination       are   individualized    and

factually distinct, and Plaintiffs have not shown that they

arise from a unified practice or course of conduct.            In fact, as

discussed, the contentions of the two named plaintiffs differ

significantly - Ms. Clark was not denied service but service


      11
      (...continued)
defenses based on statutes of limitation).

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denial is the sole basis of Ms. Mercer’s claim.                  See supra note

9; Talley, 222 F.R.D. at 268 (finding the plaintiffs failed to

establish typicality where they “aggregated several individual

complaints that require individualized proof and give rise to

individualized defenses”).           Unlike in Hewlett, where the court

found that typicality was established where the plaintiffs all

suffered the same type of discrimination - refusal of service -

the putative class members in this case allege diverse instances

of discriminatory treatment that give rise to individualized

defenses.        For example, in Ms. Clark’s case, Defendants argue

that she fails to state a prima facie case of discrimination

because     in   each   instance    she   “fully     obtained     the   contract

sought” (paper 30, at 23); with regard to Ms. Mercer’s claim,

Defendants concede she was denied service but assert legitimate,

non-race-based reasons for the denial (paper 30, at 25-26).

     Moreover,       assuming      Plaintiffs      established     Defendants’

liability, the nature of each putative class member’s damages

would     be   highly   individualized,        depending    on    the   specific

discriminatory       treatment     she    received    and   the    damages   she

incurred as a result (e.g., the type and amount of emotional

distress each person suffered).12             For example, Ms. Mercer states


     12   Although the court may avoid the issues of individualized
                                                     (continued...)

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that she suffered unique distress because her daughter was

present and observed the discrimination; some putative class

members allege only one instance of discrimination although

others       claim     they    were     discriminated      against      on   multiple

occasions.       (Paper 38, ex. C, at 87).              See Broussard v. Meineke

Discount Muffler Shops, Inc.,                   155 F.3d 331, 342-43 (4th Cir.

1998)       (stating    that    individualized         damages    claims     are    “not

easily amenable to class treatment”); Doe v. Chao, 306 F.3d 170,

183 (4th Cir. 2002) (finding the district court did not abuse its

discretion in declining to certify a class “on the ground that

emotional       damages       require    too    much    individualized       proof      to

render the named representatives’ claims typical of those of the

class”).        In their reply, Plaintiffs state: “[R]esolution of

each    class        member’s    compensatory          damages    can   be   achieved

mechanically and without such highly individualized scrutiny.”

(Paper 44, at 22).            This court has noted however, that where the

nature of individual damages sought is “compensatory damages for

humiliation,          emotional       distress,    etc.,”        it   “points      to   a

predominance of individual issues.”                Hewlett, 185 F.R.D. at 220.


       12
      (...continued)
compensatory damages by ordering class certification only on the
issues of declaratory and injunctive relief and punitive
damages, see Hewlett, 185 F.R.D. 211, this bifurcation would not
resolve the overall lack of commonality and typicality that
permeate Plaintiffs’ complaint.

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As Plaintiffs indicate in their reply, they seek relief for

individuals who have “suffered the humiliation and emotional

devastation caused by discrimination.”               (Paper 44, at 15).

III.    Motion to Strike Plaintiffs’ Exhibit H

       Plaintiffs attach as an exhibit to their motion for class

certification,      what     they   purport    to     be   a   call    log   of

discrimination complaints against the Hair Cuttery between 1999

and 2004.    (Paper 31, ex. H).       Defendants argue that Exhibit H

should be stricken because it “references conduct occurring and

statements made during settlement negotiations” in another case

against Defendants in which the plaintiff was represented by the

current Plaintiffs’ counsel, a case that was eventually settled.

Defendants argue that Plaintiffs’ use of Exhibit H is therefore

improper    pursuant    to    Fed.R.Evid.     408.      (Paper   37,   at    4).

Plaintiffs counter that although the prior case settled, the

settlement agreement did not limit Plaintiffs’ counsel’s use of

the documents produced, including Exhibit H, and “the document

contains no evidence of an offer of valuable consideration to

compromise a claim.” (Paper 45, at 2).

       Plaintiffs’ motion for class certification would fail even

if the court assumed that Exhibit H was genuine and Plaintiffs

were not precluded from using it under Fed.R.Evid. 408, because

Plaintiffs have not produced sufficient evidence to establish


                                     20
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the commonality and typicality elements of Rule 23(a). 13                           In

examining        just    the   first   page    of    the    telephone      log,    the

diversity of the alleged discrimination is readily apparent.

For example, one complaint pertains to a stylist making comments

about      too   much    “inter-racial     breeding        in   Chicago,”      another

alleges discrimination against Hispanics, and multiple cite

reverse discrimination against Caucasians.                  (Paper 31, ex. H, at

1).     Moreover, some of the alleged discrimination appears to

pertain to non-Hair Cuttery salons.                 See (Paper 31, ex. H, at 1)

(referencing        complaints     against     Bubbles,         a   separate    Ratner

salon).          Thus,   an    analysis   of   the     call     log   would    merely

reinforce the court’s finding that there are significant factual

differences in the types of complaints that the Hair Cuttery

receives.

IV.     Motion for Summary Judgment

A.    Standard of Review

      It is well established that a motion for summary judgment

will be granted only if there exists no genuine issue as to any

material fact and the moving party is entitled to judgment as a

matter of law.            See Fed.R.Civ.P. 56(c); Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 250 (1986); Celotex Corp. v. Catrett,


      13Defendants argue that the document                          has   never   been
properly authenticated. (Paper 54, at 3).

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477 U.S. 317, 322 (1986).         In other words, if there clearly

exist factual issues “that properly can be resolved only by a

finder of fact because they may reasonably be resolved in favor

of   either   party,”   then   summary   judgment    is    inappropriate.

Anderson, 477 U.S. at 250; see also Pulliam Inv. Co. v. Cameo

Props., 810 F.2d 1282, 1286 (4th Cir. 1987); Morrison v. Nissan

Motor Co., 601 F.2d 139, 141 (4th Cir. 1987).             The moving party

bears the burden of showing that there is no genuine issue as to

any material fact and that he is entitled to judgment as a

matter of law.    See Fed.R.Civ.P. 56(c); Catawba Indian Tribe of

South Carolina v. South Carolina, 978 F.2d 1334, 1339 (4th Cir.

1992), cert. denied, 507 U.S. 972 (1993).

      When ruling on a motion for summary judgment, the court must

construe the facts alleged in the light most favorable to the

party opposing the motion.        See United States v. Diebold, 369

U.S. 654, 655 (1962); Gill v. Rollins Protective Servs. Co., 773

F.2d 592, 595 (4th Cir. 1985).       A party who bears the burden of

proof on a particular claim must factually support each element

of his or her claim. “[A] complete failure of proof concerning

an essential element . . . necessarily renders all other facts

immaterial.”     Celotex Corp., 477 U.S. at 323.           Thus, on those

issues on which the nonmoving party will have the burden of



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proof, it is his or her responsibility to confront the motion

for summary judgment with an affidavit or other similar evidence

in order to show the existence of a genuine issue for trial.

See Anderson, 477 U.S. at 256; Celotex Corp., 477 U.S. at 324.

However, “[a] mere scintilla of evidence in support of the

nonmovant’s        position   will   not    defeat      a    motion   for   summary

judgment.”     Detrick v. Panalpina, Inc., 108 F.3d 529, 536 (4 th

Cir.),     cert.    denied,    522   U.S.    810   (1997).          There   must   be

“sufficient evidence favoring the nonmoving party for a jury to

return a verdict for that party. If the evidence is merely

colorable, or is not significantly probative, summary judgment

may   be   granted.”      Anderson,        477   U.S.       at   249-50   (citations

omitted).

B.    Section 1981

      Section 1981 provides that:

             (a)   .  .   .   All  persons   within   the
             jurisdiction of the United States shall have
             the same right in every State and Territory
             to make and enforce contracts . . . as is
             enjoyed by white citizens . . .

             (b) . . . [T]he term “make and enforce
             contracts” includes the making, performance,
             modification, and termination of contracts,
             and   the   enjoyment   of   all   benefits,
             privileges, terms, and conditions of the
             contractual relationship.




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42 U.S.C. § 1981.          In cases brought pursuant to § 1981, where

there is not direct evidence of intentional discrimination, a

plaintiff may nevertheless proceed under the three-step, burden-

shifting scheme set forth by the Supreme Court in                           McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802-05 (1973).                        Patterson

v. McLean Credit Union, 491 U.S. 164, 185-87 (1989); Williams v.

Staples, Inc., 372 F.3d 662, 667 (4th Cir. 2004).

       Under the McDonnell Douglas framework, the plaintiff first

must    establish    a     prima    facie   case       of   discrimination.          See

McDonnell Douglas Corp., 411 U.S. at 802.                          Once a plaintiff

establishes a prima facie case of discrimination, the burden of

production shifts to the defendant to present a legitimate,

nondiscriminatory          reason    for    the    action.          See   Reeves     v.

Sanderson       Plumbing    Prods.,      Inc.,     530      U.S.   133,   142    (2000)

(citing Texas Dept. of Cmty. Affairs v. Burdine, 450 U.S. 248,

253 (1981)).       If the defendant succeeds in doing so, that will

rebut     the    presumption        of     discrimination          raised       by   the

plaintiff’s      prima     facie    case.        See    Stokes     v.   Westinghouse

Savannah River Co., 206 F.3d 420, 429 (4 th Cir. 2000) (citing

Burdine, 450 U.S. at 255 n.10).                 The plaintiff then must “prove

by a preponderance of the evidence that the legitimate reasons

offered by the defendant were not its true reasons, but were a


                                           24
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pretext for discrimination.” Burdine, 450 U.S. at 253.                 In the

end,    “[t]he    plaintiff   always     bears   the     ultimate   burden   of

proving that the [defendant] intentionally discriminated against

her.”    Evans v. Tech. Applications & Serv. Co., 80 F.3d 954, 959

(4th Cir. 1996) (citing Burdine, 450 U.S. at 253).

C.     Analysis

       Plaintiffs     do   not   forecast       any     direct   evidence     of

discrimination.         Hence,    the    case    will    proceed    under    the

McDonnell Douglas burden-shifting scheme.                  In Williams, the

Fourth Circuit articulated the applicable prima facie test for

a § 1981 claim brought in the context of purchasing goods or

services:

             To   establish   a  prima   facie  case   of
             discrimination in a § 1981 cause of action
             relating to the purchase of goods or
             services, [a plaintiff] must establish that:
             (1) he is a member of a protected class; (2)
             he sought to enter into a contractual
             relationship with defendant; (3) he met the
             defendant’s ordinary requirements to pay for
             and to receive goods or services ordinarily
             provided by the defendant to other similarly
             situated customers; and (4) he was denied
             the opportunity to contract for goods or
             services that was otherwise afforded to
             white customers.

Williams, 372 F.3d at 667.           Each Plaintiff can establish the

first three requirements of a prima facie case.                  (Paper 39, at

2) (“Both parties agree that . . . the operative test of whether


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a prima facie case exists is the test of Williams v. Staples .

. . under which the dispositive element here is the fourth

element . . . .”).       Defendants argue that neither Ms. Clark nor

Ms. Mercer can establish the fourth element of a prima facie

case.     As will be seen, though, they arguably can satisfy this

element with regard to some of their claims, but then cannot

rebut Defendants’ legitimate nondiscriminatory reasons for the

alleged discriminatory treatment.




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1.   Plaintiff Monica Clark

a.   The Waldorf, Maryland, and Potomac Yard, Virginia, Visits

     On   two    of   the   occasions     that    Ms.   Clark    contends

discrimination occurred, namely, the visits to the Waldorf,

Maryland, and Potomac Yard, Virginia, Hair Cuttery stores, Ms.

Clark received the service she asked for at the                 price   she

requested (i.e., the “listed price”).            Ms. Clark contends she

was discriminated against because of the service she received

and the way she was treated during these visits.            For example,

Ms. Clark states that she was ignored upon entry and passed over

while another customer received service, she was not given the

customary “multiple wash” or brief blow-dry so that her hair

wasn’t dripping wet when leaving the store, she was quoted a

higher, incorrect price for services requested, and a stylist

pulled her hair while brushing it.14

     As this court has noted, in order to establish a § 1981

claim in a retail setting, a plaintiff must prove that the

“right to contract has been impeded, thwarted, or deterred in



     14Ms. Clark acknowledges that she does not know if the
customer who was helped first had an appointment, request e d a
particular stylist, or was a regular customer. Once Ms. Clark
notified the employees that she had been there first and was
waiting, she was immediately helped.        With regard to the
stylist’s failure to blow dry Ms. Clark’s hair, Ms. Clark admits
that she did not ask to have her hair blown dry and that an
additional fee is charged for this service.

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some way;” that the enjoyment of the contracting experience was

impacted is not sufficient.       Baltimore-Clark v. Kinko’s, Inc.,

270 F.Supp.2d 695, 699 (D.Md. 2003) (emphasis added).               See also

Arguello v. Conoco, Inc., 330 F.3d 355, 358-59 (5th Cir. 2003)

(dismissing claim despite allegations of racist remarks and

crude gestures because the plaintiff successfully completed the

transaction); Hampton v. Dillard Dep’t Stores, Inc., 247 F.3d

1091, 1118 (10th Cir. 2001) (“[T]here must have been interference

with a contract beyond the mere expectation of being treated

without discrimination while shopping.”); Morris v. Office Max,

Inc., 89 F.3d 411, 414 (7th Cir. 1996) (dismissing § 1981 claim

because plaintiffs failed to allege they lost a contractual

interest    where   they    completed     a   purchase,     despite       the

regrettable treatment they received); Bobbitt v. Rage Inc., 19

F.Supp.2d 512, 518 (W.D.N.C. 1998) (stating that slow service is

not a sufficient basis for a § 1981 claim).                 On these two

occasions, Ms. Clark does not state that her right to contract

was   somehow   impeded,   but   claims   that    her   enjoyment    of   the

contracting experience was impacted.             This is an insufficient

ground on which to base a § 1981 claim in the retail setting.

      Ms. Clark’s reliance on Gilyard v. Northlake Foods, Inc.,

367 F.Supp.2d 1008 (E.D.Va. 2005), to support a § 1981 claim



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where there is receipt of service is misplaced.                First, by its

own terms, Gilyard applies to “restaurant services.”15                 Id. at

1014.       Second, the court in Gilyard noted: “In a given case, it

is up to the court to determine precisely what services are at

issue.”       Id.   The Gilyard court went on to define the “services

at issue” to include serving “edible food” and found that the

plaintiffs experienced more than just rude or delayed service -

they were served fly-infested, inedible food.              Id.   Hence, they

were denied the right to make a contract for services.                 Unlike

the plaintiffs in Gilyard, Ms. Clark does not contend she was

denied the right to contract for services.              Also, the services

at issue in this case were for hair styling.                   Moreover, Ms.

Clark asked for and received hair styling services at the listed

price on both occasions.        Slow service, rudeness, and failure to

do what was “customary” but not contracted for, may constitute

poor    customer     service   but   they   are   far   from   the   facts   in




       15
       The court emphasized the uniqueness of the restaurant
setting, stating that “restaurant contracts are for more than
food, they are for a dining experience commensurate with the
quality of the establishment attended.” Id. at 1014. See also
Arguello, 330 F.3d at 360 (stating that restaurant contexts are
distinguishable because the contract “entitles the customer to
benefits in addition to the meal purchased”).

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Gilyard, and thus are not sufficient to establish a § 1981

violation.16

b.   The Clinton, Maryland, Visit

     On one occasion, the visit to the Clinton, Maryland, Hair

Cuttery, Ms. Clark received the service that she requested but

claims that she was charged ten dollars more than the listed

price     because   she   is   African-American.        A   discriminatory

overcharge may constitute the denial of a “term of a contractual

relationship” and provide the basis for a § 1981 claim.                   See

Arguello, 330 F.3d at 361.         Ms. Clark has stated a prima facie

case because she produces facts sufficient to establish the

fourth element - Ms. Clark contends she was denied the same

opportunity to contract for goods or services that was otherwise

afforded to white customers because she had to pay more for

services.



     16This result comports with a recent unpublished decision
in this district in a case against Defendant Creative
Hairdressers that alleged very similar facts.         Harris v.
Creative Hairdressers, Inc., No. Civ. JFM-04-1992, 2005 WL
2138128, at *3 (D.Md. Sept. 2, 2005). Judge Motz, relying upon
this court’s decision in Baltimore-Clark, 270 F.Supp.2d at 699-
700, granted summary judgment for Creative Hairdressers because,
even though the alleged discriminatory comments and the
perception that the plaintiff was passed over may have
“diminished her enjoyment of the contracting experience,” the
plaintiff received a shampoo and blow dry and therefore
plaintiff’s right to contract was not “impeded, thwarted, or
deterred.” (quotations omitted). Id.

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    Because Ms. Clark has presented a prima facie case, the

burden   of    production   shifts   to    Defendants    to    articulate   a

legitimate,      nondiscriminatory        reason   for   the    overcharge.

McDonnell Douglas, 411 U.S. at 802.           Defendants assert that Ms.

Clark was charged the extra fee because the stylist believed

that Ms. Clark’s hair exceeded a certain length and the Hair

Cuttery has a policy of charging more for a wash and set service

performed on longer hair.17     Defendants have met their burden of

production and therefore the “presumption of discrimination

‘drops out of the picture.’”         Reeves, 530 U.S. at 143, quoting

St. Mary’s Honor Center v. Hicks, 509 U.S. 502, 507-08 (1993).

Ms. Clark must then prove by a preponderance of the evidence

that Defendants’ proffered reason is not their true reason, but

instead a pretext for discrimination.          Burdine, 450 U.S. at 253.

In Reeves, the Supreme Court clarified the plaintiff’s burden at

this stage.      530 U.S. at 146-47.       The court stated:

              The    factfinder’s   rejection   of    the
              [defendant’s] legitimate nondiscriminatory
              reason for its action does not compel
              judgment for the plaintiff. [Hicks,] 509
              U.S., at 511, 113 S.Ct. 2742. The ultimate
              question   is   whether   the   [defendant]


    17  Defendants wrongly assert this reason as evidence that
Ms. Clark fails to present a prima facie case.     Defendants’
proffered reason for the overcharge is properly considered in
determining whether they satisfy their burden of production
under the McDonnell Douglas framework.

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             intentionally discriminated, and proof that
             “the [defendant’s] proffered reason is
             unpersuasive, or even obviously contrived,
             does not necessarily establish that the
             plaintiff’s proffered reason . . . is
             correct.” Id. at 524, 113 S.Ct. 2742. In
             other words, “[i]t is not enough . . . to
             disbelieve the [defendant]; the factfinder
             must believe the plaintiff’s explanation of
             intentional discrimination.”   Id. at 519,
             113 S.Ct. 2742.

Reeves, 530 U.S. at 146-47. (emphasis in original).                   The court

noted    that   in   some   cases    it    may    be   permissible    to   infer

discrimination from the falsity of the defendant’s reason.                   Id.

at 147.       In those cases, if a plaintiff produces evidence

sufficient      to   establish   a   prima       facie   case   and   that   the

defendant’s legitimate nondiscriminatory reason is false, the

plaintiff may not be required to present additional evidence of

discrimination in order to withstand summary judgment.                  See id.

The court nevertheless emphasized that this sort of showing by

a plaintiff may not always be adequate.                   The court stated:

“Certainly there will be instances where, although the plaintiff

has established a prima facie case and set forth sufficient

evidence to reject the defendant’s explanation, no rational

factfinder could conclude that the action was discriminatory.”

Id. at 148.




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      Ms. Clark contends that her hair was not long enough to

justify the extra fee. 18            Accepting this contention as true,

which the court must do for purposes of this motion, Ms. Clark

has still not produced sufficient evidence in rebuttal.                      Ms.

Clark does not present any evidence that Defendants’ proffered

reason was anything more than a mistake of fact (i.e., there is

no   evidence    that   the    stylist      did   not   actually   believe   Ms.

Clark’s hair was past her shoulders), or that the real reason

for the overcharge was because of her race. 19                     See Price v.

Thompson, 380 F.3d 209, 215, n.1 (4th Cir. 2004) (noting that

“mere      mistakes     of    fact    are     not   evidence       of   unlawful

discrimination”); Ennis v. Nat’l Ass’n of Bus. & Educ. Radio,




      18In the complaint, Ms. Clark also alleges that Hair
Cuttery’s policy is to charge the extra fee only for chemical
services, which she did not request on the occasion in question.
This argument was not renewed in Plaintiffs’ opposition
memorandum (paper 36), nor does Ms. Clark offer testimony or
other evidence in support. All evidence on the record regarding
the long hair fee shows that it is charged for a “wash and set,”
the service that Ms. Clark received during the Clinton Hair
Cuttery visit. See (paper 30, ex. 2, deposition of Tonia Patt,
at 242-46; ex. 3, deposition of Donnelle Cate, at 311-12 and
price list attached to Cate deposition).           Ms. Clark’s
allegation, without more, is not sufficient to rebut Defendant’s
non-discriminatory reason. Burdine, 450 U.S. at 253.
      19
       Ms. Clark asserts that Defendants’ pattern and                   practice
of discrimination is evidence that the overcharge was                   racially
motivated.   Because Plaintiffs have not produced                       evidence
sufficient to establish a pattern and practice, this                    argument
fails.

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Inc., 53 F.3d 55, 62 (4th Cir. 1995), quoting Meiri v. Dacon, 759

F.2d 989, 998 (2nd Cir. 1985) (“‘The summary judgment rule would

be rendered sterile . . . if the mere incantation of intent or

state of mind would operate as a talisman to defeat an otherwise

valid motion.’”).        See also Reeves, 530 U.S. at 141 (stating

that the plaintiff must show that the protected trait “actually

motivated” the defendant’s action). For these reasons, the court

will grant summary judgment to Defendants on Ms. Clark’s claims.

2.   Plaintiff Leslie Mercer

     Unlike Ms. Clark, Plaintiff Leslie Mercer has produced

evidence that she was denied the opportunity to receive hair

services during her visit to the Reston, Virginia, Hair Cuttery.

Ms. Mercer testifies that, upon asking for a “roller set,” a

Hair Cuttery stylist, Mr. Bach, told her that no one could help

her because her hair was “too difficult to do.”                  Ms. Mercer

subsequently left the store without receiving service.                Hence,

Ms. Mercer produces evidence sufficient to establish a prima

facie     case   of   discrimination       because   she   was   denied   the

opportunity to contract that was otherwise afforded to Caucasian

customers.20



     20Ms. Mercer states that there were Caucasian customers in
the Hair Cuttery at the time of her visit and that they were not
denied service.

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       Because Ms. Mercer establishes a prima facie case, the

burden      of   production    shifts    to     Defendants   to    put    forth   a

legitimate nondiscriminatory reason for the denial of service.

Defendants offer multiple nondiscriminatory reasons: (a) Mr.

Bach believed that it was another stylist’s turn to provide

service, and that stylist had left the store; (b) Mr. Bach

perceived Ms. Mercer’s hair as being difficult to do and felt he

could not competently perform the requested service; (c) Mr.

Bach    was      uncomfortable    performing       the   service    Ms.    Mercer

requested; and (d) Mr. Bach had poor customer service skills and

was generally rude to customers.21               (Paper 30, at 25-26).        Ms.

Mercer fails to proffer any evidence to show that Defendants’

reasons are false, let alone a pretext for discrimination.                    See

Grenoba v. Montgomery County Dep’t of Health & Human Servs., 209

F.Supp.2d 572, 578 (D.Md. 2002) (“At the very least, Reeves . .

. demands that the plaintiff prove falsity in some way.”).

       The       evidence     supports        Defendants’    proffered       non-

discriminatory reasons.          Another stylist working at the time of

Ms. Mercer’s visit confirmed to a Hair Cuttery district manager

investigating the incident that it was not Mr. Bach’s “turn” to


       21
       Defendants wrongly argue Ms. Mercer cannot state a prima
facie case.   Defendants’ reasons are properly considered in
determining whether they satisfy their burden of production
under the McDonnell Douglas framework.

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take a customer.    (Paper 30, ex. 5, Deposition of Cathy Hall, at

91-92).    Moreover, Ms. Mercer concedes that there is no such

thing as “African-American hair” and anyone can have any type of

hair, and that on a previous visit to the Bowie, Maryland, Hair

Cuttery, she believes that some stylists were hesitant to do her

hair in particular, but not “African-American” hair generally.

(Paper 30, ex. 8, Deposition of Leslie Mercer, at 75-78).                 In

addition, there is evidence that Mr. Bach refused to perform

services   on    more    than    one   occasion   and   was    uncomfortable

performing the service the Ms. Mercer requested, even though it

was a basic service.            (Paper 30, ex. 5, Deposition of Cathy

Hall, at 183) (stating that Mr. Bach told the district leader on

a number of occasions that he was not comfortable performing

“roller sets”).22

     Ms. Mercer states that “any reason Defendants proffer to

explain    why   [she]     was    denied    service     is    mere   pretext,

particularly in light of the number of other African-American



     22Mr. Bach was put on probation after the incident with Ms.
Mercer and was subsequently fired after another incident where
he refused to perform a coloring service on a customer unless
she would pay more than the listed price. Although Defendants
allege that this customer was Caucasian, citing to Cathy Hall’s
Deposition at 19-25 in support, Defendants fail to attach all of
these pages. (Paper 30, ex. 5). In addition, in Defendants’
responses   to  Plaintiffs’   first   set  of   interrogatories,
Defendants stated the race of the customer was unknown. (Paper
23, ex. B, at 12).

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customers who have complained of similar mistreatment.” (Paper

36, at 18).       By referencing these other allegations, Ms. Mercer

implies     that      Defendants      have    a     pattern    and    practice      of

discrimination and that this can be used to show that any reason

Defendants offer would be pretextual.                  Because Plaintiffs have

not proffered evidence sufficient to establish a pattern and

practice,       Ms.   Mercer’s   argument         fails.      What   remains   is    a

general and unsupported assertion that any reason Defendants

offer to explain the service denial is pretextual.                          This is

insufficient to withstand summary judgment.                     See Detrick, 108

F.3d at 536 (“A mere scintilla of evidence in support of the

nonmovant’s       position     will   not     defeat    a   motion    for   summary

judgment.”).

3.   Use of Pattern or Practice Evidence to Prove Pretext

     Evidence of a pattern or practice of discrimination may be

used to help prove claims of individual discrimination under the

McDonnell Douglas framework.                 Lowery v. Circuit City Stores,

Inc., 158 F.3d 742, 760-61 (4th Cir. 1998), vacated on other

grounds, 527 U.S. 1031 (1999).                Pattern and practice evidence

could      be     used    to     show        that      Defendants’      legitimate

nondiscriminatory reasons were pretextual.23                     See id at 761.


     23    Because both Plaintiffs establish prima facie cases of
                                                   (continued...)

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(“Evidence of a pattern or practice of discrimination may very

well       be    useful      and    relevant         to    prove   .    .   .    that     the

[defendant’s] articulated reasons for the . . . action was

merely pretext . . . .”) (internal citation omitted).

         Although its use would be permissible, Plaintiffs fail to

come forward with evidence sufficient to establish the existence

of   a        pattern   or   practice      of    discrimination.            In    order    to

establish a pattern or practice, a party must “prove more than

the mere occurrence of isolated or ‘accidental’ or sporadic

discriminatory acts.               It [has] to establish by a preponderance

of the evidence that racial discrimination was the company’s

standard operating procedure[,] the regular rather than the

unusual practice.”             Int’l Bhd. Of Teamsters v. United States,

431 U.S. 324, 336 (1977).                 See also Stastny v. S. Bell Tel. &

Tel. Co., 628 F.2d 267, 273 (4th Cir. 1980) (stating the standard

operating         procedure        must   “so    demonstrably          treat[]    women   in

relatively         unfavorable       ways   that          it   justifies    a    rebuttable

inference that it proceeds from an intention to treat them

differently simply because of their sex”);                             Janey v. N. Hess


         23
      (...continued)
discrimination based on the factual circumstances surrounding
some of their individual visits to the Hair Cuttery, the use of
pattern and practice evidence to establish a prima facie case is
unnecessary. For the other visits, the claims fail for reasons
unrelated to discriminatory animus.

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Sons, Inc., 268 F.Supp.2d 616, 626 (D.Md. 2003) (“Plaintiff is

required not merely to allege . . . a pattern or practice case,

but to offer statistical evidence and anecdotal testimony to

demonstrate that widespread discrimination exists.”).

     Although Plaintiffs raise several arguments positing that

a   pattern   and     practice   of     racial     discrimination    exists,

Plaintiffs    do      not   present        sufficient    evidence    of    an

intentionally      discriminatory       standard    operating    procedure.24

Plaintiffs    first     argue    that      a   pattern   and    practice   of

discrimination exists because Defendants do not require all

stylists to perform speciality services.             Plaintiffs argue that

because African-Americans request speciality services more often

than Caucasians, this policy has an indirect adverse impact on



     24In fact, some of the evidence Plaintiffs proffer is
contrary to their position. Plaintiffs attach what they purport
to be a telephone log of discrimination complaints from 1999-
2004.    As the court previously noted, this log actually
highlights the diversity of complaints that Hair Cuttery
receives and that there is no uniform or standard discriminatory
policy or practice of any kind. For example, on the first page
alone, there are three allegations of reverse discrimination
against Caucasians.   (Paper 36, ex. E).    See also (paper 36,
exs. D, F) (evidencing wide factual variations in the
declarations of other Hair Cuttery customers and a lack of any
unified pattern or practice of discriminatory treatment).
Likewise, Plaintiffs’ use of the complaint filed in the Harris
case is not supportive because Judge Motz granted summary
judgment to the defendant in that case, finding that the
plaintiff failed to establish a § 1981 claim. Harris, 2005 WL
2138128, at *3-4.

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African-Americans.       As the court previously noted, this is not

sufficient to establish a § 1981 claim, which addresses only

intentional acts of discrimination (i.e., disparate treatment

vs. disparate impact).

       Second,    Plaintiffs    assert     that     Defendants     use    price

surcharges as a pretext for discrimination.               This claim is not

supported by any evidence other than Plaintiffs’ conclusory

statements that Defendants charge African-Americans more with an

intent to dissuade them from seeking Hair Cuttery services.                  On

the contrary, the evidence shows that the amount charged for a

service is related to how much time and effort is involved in

that service.     (Paper 30, at 11, n.3) (detailing Hair Cuttery’s

fee structure).      To the extent that Plaintiffs are arguing that

Hair    Cuttery    discriminates    by     charging      higher   prices    for

specialty    services,    which   are     used    more   often    by   African-

American women, this claim fails because as noted, disparate

impact claims are not recognized under § 1981.

       Third, Plaintiffs argue that Defendants’ failure to enforce

Hair Cuttery’s discrimination policy establishes a pattern and

practice of discrimination.        Plaintiffs contend that contrary to

Hair   Cuttery    policy,   employees      are    not    always   immediately

terminated after a discrimination complaint, but instead may




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receive written or verbal warnings. 25                Defendants’ failure to

terminate an employee immediately whenever any discrimination

complaint is lodged is an insufficient basis upon which to

establish      a    standard     operating     procedure       of     intentional

discrimination.        At best, it proves that managers have autonomy

to investigate complaints and determine what occurred, and that

in     some    instances   managers      do    not     feel    that     immediate

termination is warranted.           For example, Mr. Bach claimed he

refused to serve Ms. Mercer because it was another stylist’s

“turn.”       His account was supported by another stylist who was

working at the time.        There is also evidence that Mr. Bach was

uncomfortable performing the service Ms. Mercer requested.                      The

district      leader    placed    Mr.   Bach    on    probation       instead    of

immediately        terminating   him,   but    when   Mr.     Bach   refused    to

provide service on a subsequent occasion, he was immediately

terminated.        (Paper 30, ex. 5, Deposition of Cathy Hall, at 24-

32).

       Finally, Plaintiffs argue that Defendants have a pattern and

practice of discrimination because they incorrectly document



       25Hair Cuttery’s policy states that refusal to provide
service to any client results in immediate termination, subject
to approval by a regional manager or Employee Relations. (Paper
36, ex. L). Plaintiffs concede that if a stylist continues to
receive complaints after being written up, he or she would be
fired. (Paper 36, at 9).

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discrimination complaints (e.g., by categorizing what are truly

“race”    complaints   as   based   on    something    other   than   race).

Plaintiffs claim that improper documentation fails to “ensure

that rampant, company-wide discrimination, as alleged to have

occurred in this case, does not continue.”             (Paper 36, at 9).

Plaintiffs try to imply that Defendants, through their record-

keeping       procedures,     remain        purposefully       blind      to

discrimination.26      Plaintiffs first assert that if a customer

calls the Hair Cuttery complaint hotline but does not allege

race discrimination, the call is not categorized as a race

discrimination claim.       What Plaintiffs fail to explain is how

Defendants are supposed to know that the claim is really about

race discrimination and document the call accordingly, if the

customer never indicates race was a factor.               Plaintiffs also

claim that because some customers complain to salon management

directly, versus calling the complaint hotline, some complaints

of   racial    discrimination       may   never   be    recorded      within

Defendants’ centralized call-tracking system.           Plaintiffs do not

contend that the complaint is not investigated or resolved, but


     26Plaintiffs never directly explain how this act is tied to
a pattern or practice of discrimination but because they must
assert some form of intentional discrimination, the court
assumes Plaintiffs are attempting to imply that Defendants
willfully ignore or seek to avoid discrimination complaints as
part of their alleged discriminatory standard operating
procedure.

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only that it is not recorded in the call tracking system.                        This

evidence is simply not sufficient to prove a pattern or practice

of intentional discrimination.

       Despite Plaintiffs’ assertions, the evidence reveals quite

the opposite of a standard operating procedure of intentional

discrimination. Defendants have a nondiscrimination policy that

is    posted     in    every   store,    stylists        and   management   receive

regular anti-discrimination training, and Defendants’ managers

are     prompt    in     following      up        and   investigating   claims     of

discrimination, including the claims brought by Plaintiffs Clark

and Mercer.           The evidence shows that stylists are disciplined,

and,    even     though     they   may   not        immediately    be   terminated,

multiple complaints will lead to termination.27                    Moreover, both

Ms. Clark and Ms. Mercer admit repeatedly patronizing Hair

Cuttery salons because they received service without incident on

multiple occasions, thereby negating any assertion that Hair

Cuttery has a standard operating procedure of discrimination

against African-Americans.               (Paper 30, ex. 1, Deposition of

Monica Clark, at 39, 44-48, 124-27, ex. 8, Deposition of Leslie

Mercer, at 64, 70-74).

4.     Plaintiffs’ Request for Discovery



       27
       For example, Mr. Bach was terminated after his second
refusal to serve a customer.

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      Because Plaintiffs have not produced evidence sufficient to

withstand summary judgment, it is necessary to address their

claim that Defendants’ motion for summary judgment should be

denied as premature because Plaintiffs have not had sufficient

discovery.        (Paper   36,   at   14-15).        In   their    opposition

memorandum, Plaintiffs claim that they have not had discovery

relating     to   Defendants’    alleged       pattern      or   practice   of

discrimination and that they have filed a motion to compel

discovery and extend the time for discovery due to “Defendants’

refusal to provide discovery.”             (Paper 36, at 15).28      In their

opposition memorandum, Plaintiffs argue that because Defendants

had   not   (as   of   September      19,    2005,   when    the   opposition

memorandum was filed) provided any discovery related to the

alleged pattern and practice of discrimination, Defendants’

motion for summary judgment is “premature and should be denied

because Plaintiffs have not had a full and fair opportunity to



      28
       On September 29, 2005, Judge Connelly issued an order,
(paper 41), granting Plaintiffs’ motion for an extension of time
(paper 33), which extended discovery until November 15, 2005. On
October 7, 2005, Judge Connelly issued an Order, (paper 46),
granting in part and denying in part Plaintiffs’ motion to
compel (paper 33), to which Plaintiffs have recently filed
objections, (paper 56).     In light of the order compelling
Defendants to supplement their discovery responses by October
24, 2005, Judge Connelly granted Plaintiffs’ motion to enlarge
the court’s ruling on their previous motion for an extension of
time, and extended discovery until December 12, 2005. (Paper
57).

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perform an investigation in regard to this litigation.”            (Paper

36, at 15).

    Generally speaking, “summary judgment must be refused where

the nonmoving party has not had the opportunity to discover

information that is essential to his opposition.”            Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 250 n.5 (1986); Fed.R.Civ.P.

56(f).    “‘Sufficient time for discovery is considered especially

important when the relevant facts are exclusively in the control

of the opposing party[,]’” and when a case involves complex

factual questions about intent and motive.               Harrods Ltd. v.

Sixty Internet Domain Names, 302 F.3d 214, 247 (4th Cir. 2002),

quoting 10A Charles A. Wright, Arthur R. Miller, & Mary Kay

Kane, Federal Practice and Procedure § 2741 at 241 (3rd ed.

1998).

    A party opposing summary judgment may not merely assert in

the opposition that discovery is necessary.          Rather, the party

must file an affidavit that “particularly specifies legitimate

needs.”       Nguyen v. CNA Corp., 44 F.3d 234, 242 (4th Cir. 1995).

An affidavit may not be absolutely necessary if the party makes

objections that satisfy the purpose of providing an affidavit

and is not lax in pursuing discovery, but “failure to file an

affidavit under Rule 56(f) is itself sufficient              grounds   to

reject    a     claim   that   the   opportunity   for    discovery    was

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inadequate.”       Harrods    Ltd.,    302     F.3d   at    244-246,        n.19.

Moreover, as this court has noted, a request for discovery will

not be granted if the party merely wishes to conduct a “fishing

expedition” in search of evidence that may be helpful.                      Morrow

v. Farrell, 187 F.Supp.2d 548, 551 (D.Md. 2002).              In addition to

the specificity requirement, a party must present reasons why it

cannot put forth the necessary opposing evidence, see Pine Ridge

Coal Co. v. Local 8377, United Mine Workers of Am., 187 F.3d

415, 421-22 (4th Cir. 1999), and must establish that the desired

evidence   could   be    sufficient    to    create   a    genuine    issue       of

material fact.     See McLaughlin v. Murphy, 372 F.Supp.2d 465, 470

(D.Md. 2004).      If a party meets this burden, “the court may

refuse the application for judgment or may order a continuance

to permit affidavits to be obtained or depositions to be taken

or discovery to be had or may make such other order as is just.”

Fed.R.Civ.P. 56(f).

      Plaintiffs have not filed an affidavit specifying their

discovery needs.        Ignoring this deficiency, see Harrods Ltd.,

302 F.3d at 244, Plaintiffs have not particularly specified

legitimate needs; instead they argue that they have not been

able to “investigate” Defendants’ alleged pattern and practice

of   discrimination.       Plaintiffs’      request   is    more     akin    to    a

fishing expedition in search of helpful evidence.                      This is

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confirmed when examining Plaintiffs’ broad discovery requests.

In their motion to compel, Plaintiffs requested discovery of all

discrimination complaints against Defendants in all Hair Cuttery

locations nationwide within the past ten years.               This request

included customer and employment discrimination complaints, and

encompassed       every    possible   type   of   discrimination       (e.g.,

discrimination based on age, disability, sex, national origin,

etc.),     even   though    this   lawsuit    relates     only    to   racial

discrimination       against   customers     or   potential      customers. 29

(Paper 23, ex. A, at 9, Interrogatory no. 12).                   Moreover, a

significant amount of discovery has already taken place in this

case,      including      Defendants’      supplemental     responses      to

Plaintiffs’ discovery requests, and yet Plaintiffs have failed

to supplement their opposition memorandum with any evidence

sufficient to show a “pattern and practice” of discrimination.30

See Adams v. Giant Food, Inc., 225 F.Supp.2d 600, 607 (D.Md.




    29 Judge Connelly has since narrowed the scope of discovery
to include only complaints of customer discrimination brought in
the past five years in Maryland, Virginia, and Delaware, the
states where, according to the complaint, the alleged
discrimination occurred. (Paper 46).
    30 In accordance with Judge Connelly’s Order, Defendants’
supplemental discovery responses pertained to all claims of
racial discrimination by customers or potential customers in the
past five years, at Hair Cuttery stores in Maryland, Virginia,
and Delaware.

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2002), quoting Goodell v. Rehrig Int’l, Inc., 683 F.Supp. 1051,

1054 (E.D.Va. 1988) (“‘[T]he mere hope that something might turn

up in further discovery does not satisfy the standards of Rule

56(f).’”).    Thus, the court will deny Plaintiffs’ request to

stay this decision.

V.   Plaintiffs’ Other Motions and Objections

     Also pending are: (1) Plaintiffs’ motion to amend the

complaint    to   add   additional        plaintiffs    (paper    17);     (2)

Plaintiffs’ motion for a preliminary injunction to stop the

destruction of documents (paper 26); (3) Plaintiffs’ objections

to Magistrate Judge Connelly’s October 7, 2005, Order (paper

56); and (4) Plaintiffs’ motion to exceed ten depositions and

forty hours of depositions (paper 51) .             Because the court will

grant Defendants’ summary judgment motion, these other motions

will be denied as moot.         The court’s ruling on the summary

judgment    motion   will   render    moot    the    objections   to     Judge

Connelly’s ruling.




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VI.   Conclusion

      For the reasons stated, the court will deny Plaintiffs’

motion   for   class   certification,    deny   Defendants’    motion   to

strike Exhibit H, and grant summary judgment to Defendants.

Plaintiffs’ other pending motions and objections will be denied

as moot.   A separate Order will follow.




                                             /s/
                                        DEBORAH K. CHASANOW
                                        United States District Judge
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